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 5
                             UNITED STATES DISTRICT COURT
 6                          WESTERN DISTRICT OF WASHINGTON
                                      AT TACOMA
 7
     AVENILLA CASTIEN-KERSTETER,                      CASE NO. C20-6071BHS
 8
                             Plaintiff,               ORDER
 9          v.

10   GEICO GENERAL INSURANCE
     COMPANY,
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                             Defendant.
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            THIS MATTER is before the Court on Plaintiff Avenilla Castien-Kersteter’s
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     Motion to Remand to Clark County Superior Court. [Dkt. # 10]. This underinsured
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     motorist insurance case was properly removed because Castien-Kersteter’s initial
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     complaint named only an out-of-state defendant, Geico General Insurance Co.
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            Castien-Kersteter has since amended her complaint to add a non-diverse
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     defendant, Lori McAllister. [Dkt. # 8]. She argues that she did so for bona fide reasons
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     and that McAllister’s presence in the case destroys diversity under 28 U.S.C. § 1332(a).
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     Geico has not responded to the Motion.
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     ORDER - 1
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             Case 3:20-cv-06071-BHS Document 13 Filed 01/12/21 Page 2 of 2




 1         Castien-Kersteter’s Motion to Remand for lack of diversity jurisdiction is

 2   GRANTED. This matter is REMANDED to Clark County Superior Court.

 3         The Clerk shall close the case.

 4         IT IS SO ORDERED.

 5         Dated this 12th day of January, 2021.

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                                             ABENJAMIN H. SETTLE
                                              United States District Judge

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     ORDER - 2
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